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                            IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

John Doe,                                    :
                                             :       Case No. 2:16-cv-00171
               Plaintiff,                    :
                                             :       Judge George C. Smith
       v.                                    :
                                             :       Magistrate Chelsey M. Vascura
The Ohio State University,                   :
                                             :
               Defendant.                    :

                        MEMORANDUM IN SUPPORT OF
              MOTION TO COMPEL PRODUCTION OF DOCUMENTS AND
                      RESPONSES TO INTERROGATORIES

       Pursuant to Fed. R. Civ. P. 37, Plaintiff John Doe respectfully submits this Memorandum in

Support of Motion to Compel Production of Documents and Responses to Interrogatories. Plaintiff

seeks the following discovery from Defendant: (i) complete written responses to Plaintiff’s First

Request for Production of Documents and a privilege log; (ii) documents exchanged with the U.S.

Department of Education and its Office of Civil Rights relating to Title IX compliance at OSU; (iii)

information and documents relating to investigations at OSU into other Title IX matters of

similarly situated students; (iv) documents relating to OSU’s investigation and closing of its Office

of Sexual Civility and Empowerment; (v) documents relating to OSU’s Title IX policies and

training materials; (vi) information and documents relating to pages on OSU’s website relating to

Title IX; and (vii) documents relating to other Title IX lawsuits brought against OSU by male

students. Plaintiff also seeks the payment of expenses, including attorney’s fees, for filing this

motion. Fed. R. Civ. P. 37(a)(5).

 A.     BACKGROUND FACTS AND INFORMATION

        The underlying facts of this case are set forth in the Court’s decision granting in part, and

 denying in part, Defendant’s Motion to Dismiss. See Doe v. Ohio State Univ., 239 F. Supp.2d
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    1048, 1065 (S.D. Ohio 2017); (Doc. No. 50). Pending before this Court and containing additional

    relevant background information and facts is Plaintiff’s Motion to Reconsider the dismissal

    order. (Doc. No. 72). This motion is fully briefed.

           Because of this pending motion, which could change the scope of discovery, the parties

    agreed that the most efficient course was to stay discovery until the Court rules on the Motion to

    Reconsider. Before the agreed stay, the parties had exhausted efforts to resolve a dispute about

    Defendant’s responses to Plaintiff’s written discovery requests. The parties agreed to submit this

    dispute to the Court while discovery is stayed and the Motion to Reconsider pending, so that

    when discovery commences, the parties can move forward without further delay. (Doc. No. 86)

    B.     DISCOVERY

           On July 7, 2017, Plaintiff served Defendant with its First Set of Interrogatories and

    Requests for Production of Documents. (See Exhibits 1 and 2). Instead of responding, Defendant

    attempted to narrow the scope of discovery to topics it deemed relevant. The parties submitted

    their positions on the dispute to the Court and requested a conference. (Doc. No. 57). While

    awaiting the conference with the Court, Defendant submitted its interrogatory answers on

    September 21, 2017 (see Exhibit 3) and later supplemented its response to Interrogatory No. 5

    on November 21, 2017 (see Exhibit 4).

           The discovery conference with the Court took place on October 2, 2017. At the

    conference, OSU expressed willingness to resolve many of the prior disputes and appeared to

    abandon some of its former position on narrowly limiting discovery. The biggest issue was

    Plaintiff’s request for “all documents concerning any investigation, evaluation, prosecution,

    adjudication, or appeal of a charge of sexual assault, sexual misconduct, sexual harassment or a

    similar offence made to OSU from August 1, 2005 to the present.” Because Defendant asserted

    that the request was unduly burdensome because of the amount of documents, the parties agreed

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    that OSU would initially produce a spreadsheet containing a “statistical compilation covering

    only 2010 to present.” (Doc. No. 60).

           As the Order states, however, this statistical compilation was intended only as an initial

    production for Plaintiff to review and request additional documents as needed. “Defense counsel

    offered to compile and produce statistics for 2010 to the present. Plaintiff’s counsel agreed that

    Defense counsel’s proposal appeared to be [a] reasonable solution, but reserved the right to

    request more information following review of the information Defendant produces.” Id. at pp. 1-

    2. Plaintiff also reserved the right to request documents relating to investigations from 2005-

    2010. “Plaintiff reserves the right to seek earlier years, and Defendant has not waived its

    objection to any such request.” Id. at p. 2.

           Following the conference, Defendant partially responded to Plaintiff’s Request for

    Production of Documents on November 21, 2017. (See Exhibit 5). Defendant produced

    documents, including the spreadsheet referenced above, between November 21, 2017 and March

    2018. Defendant has yet to provide a complete written response to Plaintiff’s Request for

    Production of Documents. A copy of the spreadsheet is attached as Exhibit 8A.

           On March 9, 2018, Plaintiff served Defendant with its Second Set of Interrogatories and

    Requests for Production of Documents. Defendant responded on April 11, 2018. (See Exhibit 6).

    On March 29, 2018, Plaintiff served Defendant with its First Request for Admissions, Third Set

    of Interrogatories, and Third Request for Production of Documents. Defendant Responded on

    April 17, 2018. (See Exhibit 7).

           Following OSU’s written responses to discovery and document production, disputes

    remained about whether Plaintiff was entitled to additional discovery relating to the topics listed

    in the first paragraph above. Counsel discussed these issues on the phone and exchanged formal

    correspondence setting forth their respective positions. A copy of the correspondence between

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    the parties relating to Plaintiff’s First and Second Set of Interrogatories and Requests for

    Production of Documents is attached as: Exhibit 8 (and attachments A-E thereto), which is

    March 20, 2018 correspondence from Plaintiff to Defendant; Exhibit 9, which is April 11, 2018

    correspondence from Defendant to Plaintiff; and           Exhibit 10, which is April 18, 2018

    correspondence from Plaintiff to Defendant. Attached as Exhibit 11 is April 19, 2018

    correspondence from Plaintiff to Defendant addressing Defendant’s responses to Plaintiff’s First

    Request for Admissions, Third Set of Interrogatories and Third Request for Production of

    Documents. 1 On April 30, 2018, Defendant’s counsel notified Plaintiff’s counsel by e-mail that

    none of these discovery disputes could be resolved informally. See Exhibit 12. 2

              Thus, a dispute remains about the following discovery requests: First Request for

    Production of Document Numbers 8-12, 19-22, 24, 26-29, 36-40, Interrogatory Nos. 15-18 and

    Request for Admission No. 1. The final issue relates to a subpoena sent to NCHERM, which is a

    Title IX consulting company with whom Defendant contracts. Defendant retained NCHERM to

    investigate its Office of Sexual Civility and Empowerment and Natalie Spiert, who was involved

    in the allegations against Plaintiff and served as an adviser to the accuser. Ms. Spiert was named

    as a Defendant. The claims against her are part of the pending Motion to Reconsider. OSU

    instructed NCHERM not to produce the documents.

              Plaintiff respectfully submits he is entitled to all of the discovery discussed herein and

    asks the Court to compel Defendant to respond. Plaintiff’s counsel certifies, pursuant to Fed. R.

    Civ. P. 37(a)(1) that they made a good faith effort to obtain the requested discovery without court

    action.




1 The April correspondence repeatedly references a May conference with the Court. The parties
cancelled this conference by mutual agreement.
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  Portions of Exhibit 12 unrelated to discovery are redacted pursuant to Fed. R. Evid. 408.
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    C.     ARGUMENT

           1.      Legal Background and Standard of Review

           Currently, and pending resolution of the Motion to Reconsider, this case alleges a

    violation of Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681 et seq. (“Title

    IX”). Title IX provides that “[n]o person in the United States shall, on the basis of sex, be

    excluded from participation in, be denied the benefits of, or be subjected to discrimination under

    any education program or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

    As this Court has previously explained, the principles of Title VII claims apply in interpreting

    Title IX, “[b]ecause the statutes share the same substantive goals and because Title IX mirrors

    the same substantive provisions of Title VII of the Civil Rights Act of 1964, courts interpret Title

    IX by looking to case law interpreting Title VII employment discrimination cases.” Doe v. Ohio

    State Univ., 239 F. Supp. 3d 1048, 1065 (S.D. Ohio 2017) (internal citations omitted).

           This case, like many others attacking university disciplinary proceedings on the ground of

    gender bias, is based on an “erroneous outcome” theory. 3 A plaintiff bringing an erroneous

    outcome challenge must allege: (1) particular facts sufficient to cast some articulable doubt on

    the accuracy of the outcome of the disciplinary proceeding; and (2) a causal connection between

    the flawed outcome and gender bias. Doe v. Miami Univ., 882 F.3d 579, 592 (2018). Of

    particular relevance to this Motion, the Miami court further explained that allegations of gender

    discrimination “might include, inter alia, statements by members of the disciplinary tribunal,

    statements by pertinent university officials, or patterns of decision-making that also tend to show

    the influence of gender.” Id. at 593.

           Defendant, however, refuses to produce documents relating to Plaintiff’s Title IX


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  Because of the pending Motion to Reconsider, additional Title IX and due process claims may be
reinstated.
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    erroneous outcome claims. “Determining the proper scope of discovery falls within the broad

    discretion of the trial court.” See Lewis v. ACB Business Servs., Inc., 135 F.3d 389, 402 (6th Cir.

    1998). Rule 26(b) of the Federal Rules of Civil Procedure provides the scope of discovery:

          Parties may obtain discovery regarding any nonprivileged matter that is relevant to
          any party's claim or defense and proportional to the needs of the case, considering
          the importance of the issues at stake in the action, the amount in controversy, the
          parties’ relative access to relevant information, the parties’ resources, the
          importance of the discovery in resolving the issues, and whether the burden or
          expense of the proposed discovery outweighs its likely benefit.

Rule 37(a) of the Federal Rules of Civil Procedure authorizes a motion to compel discovery when a

party fails to provide proper response to discovery requests.


           2.      Complete Written Responses to Plaintiff’s First Request for Production of
                   Documents and Privilege Log

          Rule 34(b)(2) of the Federal Rules of Civil Procedure requires Defendant to provide a

written response to each of the requests contained in Plaintiff’s First Request for Production of

Documents. Instead, Defendant only partially responded, providing responses to Document

Request Numbers 8-12 and 19-34. (See Exhibit 5). The Court should order Defendant to provide a

complete written response to assist Plaintiff in determining if all requested documents have been

produced.

          Additionally, Plaintiff has repeatedly asked Defendant for a privilege log. See Exhibit 8, p.

4, Exhibit 10, p. 3. Defendant repeatedly promises to produce, but never does so. Plaintiff is

entitled to the privilege log and needs it to determine if there are documents being wrongfully

withheld. Fed. R. Civ. P. 26(b)(5)(A). Plaintiff has been very patient with Defendant’s slow

responses to written discovery and the document production, which took eight months, and remains

willing to work amicably to accommodate schedules and other demands of the clients. However,

Plaintiff should not bear the expense of filing a motion simply to obtain a privilege log.

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           3.      Requests for Documents Relating to the United States Department of
                   Education and Compliance with Title IX

           As the Court is aware from the detailed briefing relating to Plaintiff’s subpoena to the

    U.S. Department of Education (“DOE”) and its Office of Civil Rights (“OCR”) (Doc. Nos. 66,

    68), Plaintiff alleges that Defendant’s discrimination against Plaintiff was motivated in part by

    pressure from the DOE and OCR, in particular because of OCR’s investigation into OSU’s Title

    IX compliance, and is attempting to obtain documents in this litigation from Plaintiff and the

    DOE/OCR relating to this allegation. While the Court quashed Plaintiff’s subpoena, it

    recognized the importance of this discovery to the litigation and the fact that Plaintiff is entitled

    to the discovery from Defendant. “’Any documents or communications from the Department of

    Education to the University or from the University to the Department that may bear on the

    factors motivating Defendants should be in the University’s possession and obtaining from

    Defendants.” (Doc. No. 87, pp. 2-3). 4

           The related requests are contained in Plaintiff’s First Request for Production of

    Documents, Document Request Nos. 8-12 and 27:

           8.     All documents concerning any investigation of OSU by the DOE concerning the
                  handing of sexual misconduct cases or gender discrimination, including OCR
                  Docket Nos. 15-10-6002, 15-13-2165, 15-15-2195, and 15-15-2208.

           9.     All documents concerning the DOE’s April 11, 2011 Dear Colleague letter.

           10.    All documents concerning OSU’s agreement with the DOE to resolve OCR Docket
                  No. 15-10-6002.

           11.    All documents concerning OSU’s fulfillment of the terms agreed to with DOE to
                  resolve OCR Docket No. 15-10-6002, including the agreement to:


4Further demonstrating the relevance of the DOE/OCR documents in Title IX cases, counsel for
Plaintiff issued the same subpoena to the DOE/OCR in a similar case they are litigating against the
University of Cincinnati in the Western Division before Judge Dlott, who ordered the DOE/OCR to
produce the requested documents. See Gischel v. University of Cincinnati, et al., Case No. 1:17-cv-
00475, Doc. No. 28.
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                  a. Appoint, and publicize the appointment of, a Title IX Coordinator and
                     Deputy Title IX Coordinators;

                  b. Create a Title IX webpage;

                  c. Establish a centralized Office of University Compliance and Integrity;

                  d. Create an OSU-wide Title IX notice of nondiscrimination;

                  e. Add links to the Student Conduct website to access information about sexual
                     harassment and sexual assault;

                  f. Form a sexual violence consultation team;

                  g. Increase Title IX training OSU-wide;

                  h. Create a system of cooperation with OSU police;

                  i. Demonstrate responsive and appropriate actions taken against students,
                     faculty and staff who violate Title IX as it relates to sexual harassment and
                     sexual violence; and

                  j. Address the sexually hostile environment that OSU alleged existed in the
                     OSU Marching Band by issuing a statement to OSU.

         12.   All status reports submitted to DOE.

         27.   All documents concerning the University’s efforts to comply with the provisions of
               Title IX since 2010.

(Exhibit 2).   Defendant’s objections to the production of these documents ranged from the

request being irrelevant, not reasonably calculated to lead to the discovery of admissible evidence,

overbroad, unduly burdensome, not proportionate to the needs of the case, vague, indecipherable,

ambiguous, and unintelligible. (See Exhibit 5)

       Defendant asserts that it “has produced or made available what it believes are all relevant

documents related to its interactions with DOE/OCR (Per RFPD nos 8-12 and 27. The produced or

made available OCR documents are those documents produced by OSU in the Waters v. Drake

case.” See, Ex. 9, p. 1, ¶ 1. However, for the reasons stated on page 1-2 of Exhibit 8, Plaintiff

believes in good faith that Defendant’s production is not complete and it has not produced all

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relevant documents. Defendant has refused to supplement its response.

       As the Court previously held (Doc. No. 87), discovery into the DOE’s OCR investigation at

OSU are relevant and discoverable. Additionally, Defendant’s efforts to comply with and response

to pressure from OCR are relevant and discoverable. Therefore, the requests are neither irrelevant,

overly broad, not reasonably calculated to lead to the discovery of admissible evidence,

unproportionate to the needs of the case, vague, indecipherable, ambiguous, and unintelligible.

Regarding the proportionately argument, Defendant was expelled and permanently branded a

sexual offender. He has had his degree diminished and career path completely uprooted as a result

of Defendant’s actions. These requests are not disproportionate to the needs of the case. See Fed. R.

Civ. P. 26(b)(1). Accordingly, Plaintiff requests the Court order Defendant to fully respond to

Document Request Nos. 8-12 and 27

        4.      Requests For Information On Other Title IX Investigations Contained in the
                Spreadsheet and of Similarly Situated Students

       The parties also disagree about the extent of discovery into other Title IX investigations

relating to similarly situated students at OSU. Defendant’s position is that it is only required to

produce the spreadsheet with statistical information about other Title IX matters that it produced in

response to Plaintiff’s First Document Request Numbers 28, 29. Following production of the

spreadsheet, Plaintiff requested Defendant produce all documents in Defendant’s possession and

control relating to the twenty female students identified in the spreadsheet. See Exhibit 8, p. 2-3

and Exhibit B thereto.

       Additionally, Plaintiff requested Defendant produce all documents related to seven cases

identified in the spreadsheet involving discipline similar to that imposed on Plaintiff, including (i)

2013138901; (ii) 2013207501; (iii) 2013230601; (iv) 2014000401; (v) 2014032801; (vi)

2014073403; and (vii) 2014125601. Plaintiff also requested all documents relating to OSU’s “N/A”


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charging decision and/or “not in violation” findings in the following eight files identified in OSU’s

spreadsheet in Exhibit 8A: (i) 2013179301; (ii) 2013217503; (iii) 2014073403; (iv) 2014155101;

and (v) 2013159002; (vi) 2014156401; (vii) 2013165602; and (viii) 2014029503. Id. Finally,

Plaintiff requested Defendant supplement the spreadsheet to provide information about whether the

matter was appealed and, if so, the outcome. Id.

       Defendant’s response was that it would only produce the spreadsheet and that the Court had

already ruled that it was not required to do so. “It is OSU’s opinion that this issue has already been

addressed with the Court.” See Exhibit 9, ¶ 2. Defendant’s position, however, finds no support in

the actual Court order, which recognizes the production of the spreadsheet was a first step to assist

in limiting the production in response to Defendant’s position that the original requests were overly

burdensome. (Doc. No. 60)

       The other relevant discovery requests from are:

       Request for Admission No. 1, which Defendant objected to without responding.

       1. Admit some females in OSUs Spreadsheet in Exhibit A were alleged to have violated at
          least one of the four Policies in Exhibit B but OSU did not charge these females with
          violating said Polic(ies).

       Plaintiff’s Third Set, Interrogatory No. 15-18, which Defendant refused to respond.

       15. Identify all female student(s) and/or female employee(s) alleged to have violated any of
       the four Policies identified in Exhibit B.

       16. For each female identified in Interrogatory No. 15, identify all person(s) involved in
       deciding whether to charge these female(s) with allegedly violating any of the four Policies
       identified in Exhibit B.

       17. For each female student identified in Interrogatory No. 15, identify all person(s)
       involved in adjudicating any charge that these females violated any of the four Policies
       identified in Exhibit B.

       18. For each female student identified in Interrogatory No. 15, identify all academic
       sanctions and/or employment related discipline imposed for alleged violations of any of the
       four Policies identified in Exhibit B.


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(See Exhibit 7)

         As a general starting principle in evaluating these requests, the “Federal Rules of Civil

 Procedure authorize extremely broad discovery.” Ward v. American Pizza Co., 279 F.R.D. 451,

 458 (S.D. Ohio Mar. 22, 2012) (citing United States v. Leggett & Platt, Inc., 542 F.2d 655, 657

 (6th Cir. 1976), cert. denied 430 U.S. 945 (1977). “Any matter that is relevant, in the sense that it

 reasonably may lead to the discovery of admissible evidence, and is not privileged, can be

 discovered. The concept of relevant during discovery is necessarily broader than at trial.” Id.

 (citing Mellon v. Cooper-Jarrett, Inc., 424 F.2d 499, 500-01 (6th Cir. 1970)).

                  a.     The Information Sought Is Within The Scope Of Discovery
                         Commonly Ordered In Civil Rights

        Plaintiff can establish his claim through either direct or circumstantial evidence and,

therefore, is entitled to the requested discovery. “Rarely can discriminatory intent be ascertained

through direct evidence because rarely is such evidence available. This is the reason for the

McDonnell Douglas-Burdine burden of proof mechanism, allowing a plaintiff to prove its case

through circumstantial evidence. Kline v. TVA, 128 F.3d 337, 348 (6th Cir. 1997). As in Title VII

cases, Plaintiff is entitled to discover information about the treatment of comparable students in

order to establish his claims. See, e.g. Miller v. FedEx Corp., 186 F.R.D. 376, 383 (W.D. Tenn.

1999) (“In this Title VII disparate treatment case, information concerning the treatment of

comparable employees is doubtlessly relevant to plaintiff’s claim that she received harsher

discipline on account of her race.”) Plaintiff has reasonably limited his requests to seek additional

information about the other matters that are most likely to serve as comparable to his situation. He

is entitled to this discovery.

        The Sixth Circuit’s recent decision in Doe v. Miami University, 882 F.3d 579 (6th Cir. 2018)

supports Plaintiff’s position that he is entitled to this discovery, in particular if the Court grants


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Plaintiff’s Motion to Reconsider. For example, Plaintiff may be able to establish discrimination by

showing that Defendant failed to take action against females who violated their sexual misconduct

policies under circumstances where they took action against Plaintiff. Id. at 590.

       The recent Doe v. Marymount Univ. decision highlights Plaintiff’s need to access the

documents and/or audio recordings related to sexual misconduct disciplinary proceedings that

involved the university employees involved in John Doe’s discipline. Doe v. Marymount Univ.,

Case No. 1:17-cv-401-TSE-MSN, 2018 WL 1352158 (E.D. Va. Mar. 14, 2018). In that case, a

district court refused to dismiss a Title IX complaint in part because plaintiff’s adjudicator manifest

gender bias behavior in a sexual assault investigation that occurred after the adjudicator found

plaintiff engaged in sexual misconduct. Id., *9. In this subsequent investigation, the adjudicator

investigated a male student’s allegation that “a female student of touching his genitals without his

consent.” Id. The adjudicator asked the male student if he was “aroused by this unwanted

touching.” Id. And, the district court found this question reveled the adjudicator’s “decision-

making was infected with impermissible gender bias, namely [adjudicator’s] discriminatory view

that males will always enjoy sexual contact even when that contact is not consensual.” Id.


                b.      The Narrowed Requests Are Not Unduly Burdensome

         Although the spreadsheet was not the easiest to interpret, Plaintiff made a good faith

 effort to narrow its request to those matters on the spreadsheet involving comparable students

 and situations. Plaintiff’s efforts eliminate Defendant’s burdensome objections. Additionally, the

 document requests and interrogatories propounded by Plaintiff are similar to the discovery sought

 by the Department of Education, Office of Civil Rights (“OCR”), in conducting investigations

 into whether schools have violated Title IX by failing to promptly and equitably respond to

 complaints of sexual misconduct. Since Defendant has been involved in several OCR


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 investigations, it should be able to easily produce the documents. Thus, complying with the

 Plaintiff’s discovery requests will not be burdensome.


                c.      The Protective Order Addresses Confidentiality and FERPA
                        Concerns

       Plaintiff is not entirely sure of Defendant’s objections to the production, other than its

desire to narrowly limit discovery. However, any suggestion from Defendant that the discovery

sought contains sensitive or confidential material protected from disclosure by FERPA or

otherwise is not well taken. See In re TJX Cos., No. 07-1853-KHV, 2008 U.S. Dist. LEXIS

46365, at *8-9 (D. Kan. June 12, 2008) (“As to plaintiffs’ objection that the information sought

may invade their privacy, this reason by itself is insufficient to make the discovery objectionable.

Since there has been a protective order entered in this case . . . this type of information could be

designated as ‘confidential’ and produced pursuant to the protective order.”).


       For all of these reasons, Plaintiff is entitled to the requested files identified above from

OSU, supplemental information in the spreadsheet about appeals, and complete responses to

Request for Admission No. 1 and Interrogatory Nos. 15-18.

        5.      Documents Relating to OSU’s Investigation of its Office of Sexual Civility
                and Empowerment

       Before Defendant publicly announced the temporary suspension and then eventual closing

of its Office of Sexual Civility and Empowerment unit and investigation into gender-biased actions

of Natalie Spiert, Plaintiff first learned of the investigation when NCHERM responded to a

subpoena Plaintiff issued in this case. (See Exhibit 8C). Counsel for Defendant instructed

NCHERM to withhold documents relating to the investigation because it was irrelevant and

protected by the attorney-client privilege. (See Exhibit 8D). Because Defendant had not produced

documents relating to the investigation and because of its instruction to NCHERM, Plaintiff sent

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the following requests for discovery into the investigation in its Third Set of Interrogatories and

Requests for Production of Documents:

        36.        All communication(s) and document(s) relating to the 2017 analysis of the OSU
                   Office of Sexual Civility and Empowerment addressed in Christina L. Corl’s
                   October 16, 2017 letter in Exhibit A.

        37.        All communication(s) and document(s) relating to your creation of OSU’s Office of
                   Sexual Civility and Empowerment.

        38.        All communication(s) and document(s) relating to any training provided to your
                   employees and/or agents associated with OSU’s Office of Sexual Civility and
                   Empowerment.

See Exhibit 7. 5

        In the March 20th correspondence to defense counsel, Plaintiff asked Defendant to lift its

objections and allow production of the documents because they are neither privileged nor

irrelevant. (See Exhibit 8, pp. 3-4). Plaintiff refused, providing no further explanation for its

objections or position, but confirming that the majority of the correspondence and documents at

issue did not involve attorneys. (See Exhibit 9, p. 2, ¶ 4)

        On April 18th, Plaintiff again asked Defendant to reconsider, providing the newspaper

articles attached to that letter as support that the investigation was relevant. (See Exhibit 10)

Plaintiff made a third request on April 19th. (See Exhibit 11, p. 2). Nonetheless, OSU continues to

assert that the investigation was privileged and irrelevant.

        Recent publicity regarding the closing of OSU’s Office of Sexual Civility and

Empowerment and termination of Ms. Spiert further contradict Defendant’s position that the

investigation is not relevant and is privileged. For instance, in a June 19, 2018 article published by

the Lantern entitled “Ohio State shuts down its Sexual Civility and Empowerment unit,” it was

5These discovery requests were served before Plaintiff had knowledge of the suspension and
closing of the Office of Sexual Civility and Empowerment or of the involvement of another law
firm in the investigation. However, Plaintiff asks the Court to address the full investigation in its
ruling to avoid future discovery issues.
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reported: (1) the law firm of Cozen O’Connor conducted an additional investigation and is working

with the university to develop a new student program and suggest enhancements to its compliance

with the laws, suggesting the legal advice is not coming from NCHERM; (2) there was a pattern of

lying from the Office of Sexual Civility and Empowerment; (3) Spiert expressed her gender-biased

views towards males to coaches in the athletic department by telling them after a training session

she knew they would “go home and beat their wives,”, and (4) that “SCE told survivors that they

should embellish their stories to receive justice or legal protection.” See Exhibit 13.

       Similarly, the article from the Columbus Dispatch on the same day entitled “Ohio State

closes sexual-assault center, fires 4 after complaints” confirms that “SCE advocates have written

survivor conduct hearing and other legal documents, and have told survivors they need to embellish

their stories because ‘their real experience wasn’t serious enough’ to receive justice or legal

protection.” See Exhibit 14. This is exactly the type of conduct that Plaintiff alleged happened in

his case. Indeed, this Court noted in its ruling on the motion to dismiss that Defendant allowing

Jane Doe to embellish her claims in the midst of the process and despite evidence of a long-term

relationship were suspect. Doe v. OSU, 239 F. Supp. 3d at 1072. Thus, the information is relevant.

       Moreover, these types of investigations are not privileged. NCHERM is a consulting group

that also provides legal services. See https://www.ncherm.org/explore/about-the-ncherm-

group/our-mission-story/ (last accessed July 27, 2018). Simply because an attorney from

NCHERM may have conducted the investigation or reported the results of the investigation to an

in-house attorney does not make the investigation or all documents related thereto privileged.

Moreover, the fact that Defendant has disclosed documents relating to the investigation to the

media in response to FOIA requests demonstrates that at least some of the documents are not

privileged. Defendant must either produce the documents or provide proof to meet its burden of

demonstrating that the investigation was privileged.
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         6.     Documents relating to OSU’s Title IX Policies and Training Materials

       Defendant produced some, but not all of the documents relating to its Title IX policies and

training materials. These documents were requested in the following Request for Production of

Documents:

       19. The University’s policies, procedures, rules, and regulations concerning sexual assault
           that were in effect during the following school years: (a) 2010-2011; (b) 2011-2012; (c)
           2012-2013; (d) 2013-2014; (e) 2014-2015; (f) 2015-16; and (g) 2016-17.

       20. All documents concerning any proposed revisions made or not made to the OSU’s
           policies, procedures, rules, and regulations concerning sexual assault during the years
           2010 to date.

       24. All documents concerning the training or guidance given to any OSU employee or
           student who was involved in any way in the investigation, evaluation, prosecution,
           adjudication, or appeal of the charge against John Doe.

       26. All documents concerning the operation and conduct of the University Conduct Board
           or the training of its members for the following school years: (a) 2010-2011; (b) 2011-
           2012; (c) 2012-2013; (d) 2013-2014; (e) 2014-2015; (f) 2015-16; and (g) 2016-17.

       27. All documents concerning the University’s efforts to comply with the provisions of
           Title IX since 2010.

       28. All documents concerning training or guidance given to any OSU employee or student
           concerning Title IX, sexual misconduct, sexual violence, sexual harassment or consent
           since 2010.


       Plaintiff asked Defendant to supplement and fully respond, providing all requested policies

and training materials, as well as documents relating thereto, such as e-mails, correspondence,

committee meeting minutes, meeting agendas, or information provided to individuals involved in

the preparation of the documents. (See Exhibit 8, p. 3). According to its correspondence, Defendant

looked into the “scope” of producing the requested documents, but decided not to produce. (See

Exhibit 9, pp. 1-2, ¶ 3; and Exhibit 12).

       Plaintiff is not precisely sure why Defendant will not produce because the requested

documents are clearly relevant, in particular considering recent publicity about Spiert, who Plaintiff

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alleges was a key discriminator against him, engaging in gender-biased training to the athletic

department. It is likely that if Ms. Spiert was responsible for providing this training to the athletic

department, then she provided to many others at OSU, including those involved in adjudicating

Plaintiff’s claims. In addition to discovery relating to the extent of Ms. Spiert’s gender bias, the

documents are generally relevant and discoverable here as they relate to allegations that OSU

discriminated against Plaintiff in response to pressure from the OCR and DOE and by training its

hearing panel members in a gender-biased fashion and that it adopted discriminatory policies and

procedures in response to pressure from OCR.

        Plaintiff respectfully moves this Court to compel Defendant to fully respond to Request for

Production Nos. 19-20, 24-28.

          7.     Documents from OSU’s Website

        Document Request Numbers 21 and 22 seek information about information on OSU’s

Office of Sexual Civility and Empowerment website, as follows:

     21. A copy of OSU’s Office of Student Life’s Sexual Civility and Employment website
         representing that “1/4 college women report surviving rape or attempted rape at some point
         in their lifetime” and all documents to support this assertion.

     22. A copy of OSU’s Office of Student Life’s Sexual Civility and Employment website
         representing that “1 out of 6 American women has been the victim of attempted or complete
         rape . . .” and all documents to support this assertion.

     Defendant has refused to produce the requested documents. See Exhibit H, p. 4, I, p. 3, ¶ 5 and

J, p. 3. Again, these documents are relevant and discoverable and Defendant should be ordered to

respond fully to Document Request Nos. 21 and 22.

          8.     Documents from other Title IX lawsuits filed by males against OSU

        In his Third Request for Production of Documents, Plaintiff requested all documents

produced from OSU to the Plaintiff in two other similar cases in the Southern District of Ohio: (1)

John Doe v. The Ohio State University, et al., No. 2:15-cv-02830; and (2) Waters v. Drake, et al.,
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No. 2:14-cv-01704. As both cases have similar allegations, Plaintiff asserts that the productions

likely contain relevant information that can be produced pursuant to the protective order. Plaintiff

disagrees saying the documents are irrelevant and the requests unduly burdensome, overly broad,

and disproportionate. See Exhibit 7. However, the document exchange in those cases more likely

than not happened electronically. Defendant can simply forward the production. Because the

parties cannot agree on this issue, it is respectfully submitted to the Court for decision on whether

Defendant is required to produce the documents requested in Document Request Nos. 39 and 40.

 D.      CONCLUSION

       The Court should grant the Motion to Compel and require Defendant to provide: (i)

complete written responses to Plaintiff’s First Request for Production of Documents and a privilege

log; (ii) documents exchanged with the U.S. Department of Education and its Office of Civil Rights

relating to Title IX compliance at OSU; (iii) information and documents relating to investigations

at OSU into other Title IX matters of similarly situated students; (iv) documents relating to OSU’s

investigation and closing of its Office of Sexual Civility and Empowerment; (v) documents relating

to OSU’s Title IX policies and training materials; (vi) information and documents relating to pages

on OSU’s website relating to Title IX; and (vii) documents relating to other Title IX lawsuits

brought against OSU by male students. Plaintiff also seeks the payment of expenses, including

attorney’s fees, for filing this motion. Fed. R. Civ. P. 37(a)(5).




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                                              Respectfully submitted,


                                              /s/ Tracy L. Turner____________________
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                                              Counsel for Plaintiff


                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of July, 2018, I filed the foregoing with the Clerk of

Court, who will send notification to all counsel via the Court’s electronic filing system.

                                                      /s/ Tracy L. Turner
                                                      Tracy L. Turner




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